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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


JEFF KENDIG, Individually and on Behalf of
All Others Similarly Situated,
                                                      C.A. No. 17-985-GMS
                    Plaintiff,

        v.

NORTHERN TIER ENERGY LP,
NORTHERN TIER ENERGY GP LLC,
DAVID L. LAMP, PAUL L. FOSTER,
LOWRY BARFIELD, TIMOTHY BENNET,
ROCKY L. DUCKWORTH, THOMAS
HOFMANN, DAN F. SMITH, JEFF A.
STEVENS, SCOTT D. WEAVER, WESTERN
REFINING, INC., WESTERN
ACQUISITION CO., LLC, and EVERCORE
GROUP L.L.C.,

                     Defendants.


                                 STIPULATION OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), and the Stipulation of all Parties who have

appeared in this action, it is hereby stipulated that this action is voluntarily dismissed with

prejudice as to the above-named Plaintiff only and dismissed without prejudice as to any

members of the putative class. Each party will bear its own costs, expenses and attorneys’ fees.

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                                          LP; Northern Tier Energy GP LLC; David L.
                                          Lamp; Paul L. Foster; Lowry Barfield; Jeff A.
                                          Stevens; Scott D. Weaver; Western Refining,
                                          Inc.; and Western Acquisition Co.

/s/ William M. Lafferty                    __/s/ Kathaleen S. McCormick__________________
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